Case 1:20-cr-00024-DKW-RT Document 409 Filed 01/23/23 Pageilof7 PagelD.1888
Case 1:20-cr-00024-DKW-RT Document 405 Filed 11/16/22 Page2of7 PagelD.1875

 

AO 245B (Rev, 6/05) Judgment in a Criminal Case
Sheet 2 - Imprisonment
DEFENDANT: KELVIN KAUWILA KAI aka “Kauwila” Judgment - Page 2 of 7
CASE NUMBER: 1:20CRO0024-003
IVIPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of PrisonSlkEDWittiisoned

for a total term of: THIRTY-SIX (36) MONTHS. UNITED STATES DISTRICT COURT
DISTRICT OF HAWAII
JAN 23 2023

[1 The court makes the following recommendations to the Bureau of Prisons: at_Z- o'clock and_2? min.’ _M
1. Defendant to be placed at Sheridan FCI (1* choice) or Lompoc FCI (2 choice) John A. Mannie, Clerk
2. Defendant to be placed in RDAP - 500 Hour Residential Drug Abuse Program and Substance Abuse
Treatment Program; and
3. Defendant to receive Vocational and Educational Training.

“Ww

{] The defendant is remanded to the custody of the United States Marshal.
{] The defendant shall surrender to the United States Marshal for this district.
{] at_ on__.

[ ] as notified by the United States Marshal.

[] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
{] before 2:00 p.m. on January 18, 2023.
| ] as notified by the United States Marshal.
I | as notified by the Probation or Pretrial Services Officer.

RETURN

| have executed this judgment as follows:

 

 

 

vis _
Defendant delivered on Aonnarvy \s 1 Zozs to Fee Yankton

V
at fanltton S. 2. _ with a certified copy of this judgment.

Ay Deoton . fer Warden

UNITED STATES MARSHAL

S. Sundleaf, CSO Zo

By FPC Yankton A
Deputy U.S. Dzdtshal
~Case 1:20-cr-00024-DKW-RT Document 409 Filed 01/23/23 Page 2of7 PagelD.1889
Case 1:20-cr-00024-DKW-RT Document 405 Filed 11/16/22 Pagelof7 PagelD.1874

AO 24658 (Rey. 2/18) Judgment in a Criminal Case 0 R | G5] NA [ FILED IN THE

 

 

Sheet | UNITED STATES DISTRICT COURT

—SiStRCPOR RAIA

United States District Court ,, NY 16 20z

District of Hawaii at__o’clock and min’ M

John A. Mannie, Clerk

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. :
KELVIN KAUWILA KAI aka “Kauwila” Case Number: 1:206R00024-003

USM Number: 92249-022
Richard D. Gronna

Defendant's Attorney

 

THE DEFENDANT:

 

[] pleaded guilty to count: 1 of the Indictment. as
{) pleaded nolo contendere to counts(s) ___ which was accepted by the court. Oe
[ | was found guilty on count(s) ____ after a plea of not guilty. >

The defendant is adjudicated guilty of these offenses: p

Title & Section Nature of Offense Offense Ended
21 U.S.C. §§ B4i7{a)(1), Conspiracy to Distribute and Possess with 01/2020 .
8471 (b)(1)(A) and 846 Intent to Distribute 500 Grams or More

 

of a Mixture and Substance Containing
Methamphetamine

The defendant is sentenced as provided in pages 2 through _7_ of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984. rt
mis
fai

{] The defendant has been found not guilty on counts(s) ___ and is discharged as to such count(s).
[7] Count 6 of the Indictment as to Defendant Kelvin Kauwila Kai of the Indictment is dismissed on the motion
of the United States. a

It is further ordered that the defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and
United States Attorney of material changes in economic circumstances,

November 15, 2022
Date of Imposition of Judgment

Sgnature of Judicial Officer

DERRICK K. WATSON, Chief United States District Judge
Name & Title of Judicial Officer

he (rr

Date

a
Case 1:20-cr-00024-DKW-RT Document 409 Filed 01/23/23 Page3of7 PagelD.1890
Case 1:20-cr-00024-DKW-RT Document 405 Filed 11/16/22 Page3of7 PagelD.1876

AO 245B (Rev. 2/18) Judgment in a Criminal Case
Sheet 3 - Supervised Release

DEFENDANT: KELVIN KAUWILA KAI aka “Kauwila” Judgment - Page 3 of 7
CASE NUMBER: 1:20CRO0024-003

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: THREE (3) YEARS.

MANDATORY CONDITIONS

1. You must not commit another federal, state, or local crime.
You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
commencement of supervision and at least two periodic drug tests thereafter but no more than 8 valid drug tests per
month during the term of supervision.

0] The above drug testing condition is suspended, based on the court's determination that you poses a low risk of
future substance abuse. (Check if applicable.)
4, (] You must make restitution in accordance with 18 U.S.C, §§ 3663 and 3663A or any other statute authorizing
a sentence of restitution. (Check if applicable.)
[/] You must cooperate in the collection of DNA as directed by the probation officer. (Check if applicable)
{] You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §

20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender

registration agency in the location you reside, work, are a, or were convicted of a qualifying offense. (Check if
applicable}

7. {} You must participate in an approved program for domestic violence. (Check if applic%blel

You must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on
the attached page.
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Case 1:20-cr-00024-DKW-RT Document 405 Filed 11/16/22 Page4of7 PagelD.1877

AO 245B (Rev. 2/18) Judgment in a Criminal Case
Sheet 3A - Supervised Release

DEFENDANT: KELVIN KAUWILA KAI aka “Kauwila” Judgment - Page 4 of 7
CASE NUMBER: 1:20CRO0024-003

STANDARD CONDITIONS OF SUPERVISION

1. | You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time you
are released, unless the probation officer instructs you to report to a different probation office or within a different time frame.

2, After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when to
report to the probation officer, and you must report to the probation officer as instructed,

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court
of the probation officer,

4. You must answer truthfully the questions asked by the probation officer. Your legitimate invocation of the Fifth Amendment privilege
against self-incrimination in response to a probation officer's question shall not be considered a violation of this condition.

5. You must live at a place approved by the probation officer. If you plan to change where you live or who lives with you, you must notify
the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due
to unanticipated circumstances, you must notify the probation ofticer within 72 hours of becoming aware of a change or expected
change.

6. You must allow the probation officer to visit you at any time reasonable under the circumstances at your home or elsewhere, and you
must permit, to the extent you are able or authorized to do so, the probation officer to take any items prohibited by the conditions of your
supervision that the officer observes in plain view.

7. You must work full time {at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
so. If you do not have full-time employment, you must try to find full-time employment, unless the probation officer excuses you from
doing so. If you plan to change where you work or if there are substantial changes to your job responsibilities, you must notify the
probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.

8. Unless you have received advance permission from the probation officer or the association is required by supervision conditions, you must
not voluntarily and intentionally associate with any person you know is engaged in committing a federal, state, or local crime, not
including traffic offenses, whether the crime is being committed in or outside of your presence. If you know someone has been convicted
of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.

9. {fF yau are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, as defined in 18 U.S.C. § 921{ah4), or
dangerous weapon (that is, anything that was designed or was modified for the specific purpose of causing bodily injury or death to
another person, such as nunchakus or tasers),

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
getting the permission of the court.

12, If the probation officer determines that you pose a risk to an organization or a person relating to your criminal record or personal history or
characteristics, the probation officer may require, with the court's approval, that you notify that organization or person {or that person's
parent, guardian, caretaker, or other individual responsible for the person's welfare} about the risk, and you must comply with that
instruction. The probation officer may contact the organization or person that you were directed to notify and confirm that you notified
that organization or person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AU.S, probation Officer has instructed me on the conditions specified by the court and has provided me with a written copy of
this judgment containing these conditions. For further information regarding these conditions, seo-Overview of Probation and
Supervised Release Conditions, available at : www.uscourts.gov.

Defendants Signature

 

Date

 
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Case 1:20-cr-00024-DKW-RT Document 405 Filed 11/16/22 PageSof? PagelD.1878

AO 2458 (Rev. 2/18) Judgment in a Criminal Case
Sheet 3D - Supervised Release

DEFENDANT: KELVIN KAUWILA KAI aka “Kauwila” Judgment - Page 5 of 7
CASE NUMBER: 1:20CRO0024-003

SPECIAL CONDITIONS OF SUPERVISED RELEASE

1. You must participate in an outpatient substance abuse treatment program and follow the rules and regulations of that
program. The probation officer, in consultation with the treatment provider, will supervise your participation in the program
(such as provider, location, modality, duration, and intensity).

2. As part of the substance abuse treatment regimen and monitoring, you must submit to substance abuse testing to
determine if you have used a prohibited substance. You must not attempt to obstruct or tamper with the testing methods.

3. You must not possess or use alcohol during the term of supervision. You must warn any other resident and/or guest that
you are prohibited from possessing any alcohol in your residence and on your property. You must submit to alcoho} testing
at the direction of the probation office.

4. You must provide the probation officer access to any requested financial information and authorize the release of any
financial information. The probation office may share financial information with the US Attorney's Office.

5. You must submit your person, property, house, residence, vehicle, papers, or office, to a search conducted by a United
States Probation Officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other
occupants that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a
search under this condition only when reasonable suspicion exists that you have violated a condition of supervision and
that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in
a reasonable manner.
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AO 245 B (Rev. 02/18} Judgment in a Criminal Case
Sheet § - Criminal Monetary Penalties

DEFENDANT: KELVIN KAUWILA KAI aka “Kauwila” Judgment - Page 6 of 7
CASE NUMBER: 1:20CRO0024-003

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment” Fine Restitution
Totals: $ 100.00 $ $ $
[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO245C) will be entered

after such a determination.
[] The defendant must make restitution {including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless

specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. 83664(i},
all non-federal victims must be paid before the United States is paid.

 

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
TOTALS $ §

[] Restitution amount ordered pursuant to plea agreement $ _

{]. The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C, §3612(f). All of the payment options on
Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612{g).

{} The court determined that the defendant does not have the ability to pay interest and it is ordered that:
{j the interest requirement is waived for the [ } fine {} restitution
U] the interest requirement for the _[ ] fine { ] restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13,1994, but before April 23,1996.
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AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 6 - Schedule of Payments

DEFENDANT: KELVIN KAUWILA KAI aka “Kauwila” Judgment - Page 7 of 7
CASE NUMBER: 1:20CR00024-003

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A [] Lump sum payment of § _ due immediately, balance due
[} not later than __, or
1] in accordance {]C, []0D, [J E&, or [] F below, or
B Iv) Payment to begin immediately (may be combined with {1C, [10, or (] F below}; or
c U] Payment in equal _ fe.g., weekly, monthly, quarterly) installments of $ _ over a period of _ fe.g., months or

years), to commence __ (e.g., 30 or 60 days) after the date of this judgment ; or

D [) Payment in equal _ fe.g., weekly, monthly, quarterly} installments of $ _ over a period of _ fe.g., months or
years}, to commence _ (e.g., 30 or 6O days) after the release from imprisonment to a term of supervision; or

E [} Payment during the term of supervised release will commence within _ fe.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at
that time; or

F {] Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. Alll criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

I} Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number, Total Amount, Joint and Several
Amount, and corresponding pay, if appropriate.

[} The defendant shall pay the cost of prosecution.
{] The defendant shall pay the following court cost(s):

[J The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall ba applied in the following order: {1} assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, [6) community restitution, (7) JVTA assessment, (8} penalties, and (9} costs, including cost of prosecution and court costs.
